            Case 3:05-cr-05747-RBL           Document 172       Filed 02/05/07   Page 1 of 2

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 5
                                                                        JUDGE LEIGHTON
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 7
                           UNITED STATES DISTRICT COURT
 8                   WESTERN DISTRICT OF WASHINGTON, AT TACOMA

 9   UNITED STATES OF AMERICA,                 )
                                               )                 NO. CR05-5747RBL
10         Plaintiff,                          )
                                               )                 ORDER APPROVING SUBSTITUTION
11
     vs.                                       )                 OF DEFENSE COUNSEL FOR PURPOSES
12
                                               )                 OF SENTENCING
     STACY CHARLES COMER,                      )
13                                             )
           Defendant.                          )
14   __________________________________________)

15          THIS MATTER having come on regularly before the above-entitled Court upon Defendant’s

16   Motion for substitution of defense counsel for purposes of sentencing. The Court having reviewed the

17   motion of Defendant, STACY CHARLES COMER, the Court having additionally reviewed the
18
     declaration of counsel in support of said motion, having reviewed the files and records of this
19
     proceeding, and being fully advised herein, it is hereby
20
     /
21
     /
                            Order-1                                                      THOMAS A. CENA, JR.
                                                                                                 Attorney at Law
                                                                                       2115 North 30th, Suite 201
                                                                                            Tacoma, WA 98403
                                                                             (253) 572-5120 Fax: (253) 593-4503
                                                                                E-MAIL: TomC55@nventure.com
            Case 3:05-cr-05747-RBL       Document 172   Filed 02/05/07   Page 2 of 2

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 3          ORDERED that current defense counsel, THOMAS A. CENA, JR., is hereby allowed to
 4   withdraw and that the CJA Administrator locate substitute defense counsel for Defendant, for
 5
     sentencing.
 6
            DATED this 5th day of February, 2007.
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                                        A
                                        RONALD B. LEIGHTON
13                                      UNITED STATES DISTRICT JUDGE

14

15   Presented by

16

17   /s/ THOMAS A. CENA, JR.
     ______________________________________
18
     THOMAS A. CENA, JR., WSBA NO. 6539
19   Attorney for Defendant Stacy Charles Comer

20

21

                          Order-2                                                THOMAS A. CENA, JR.
                                                                                         Attorney at Law
                                                                               2115 North 30th, Suite 201
                                                                                    Tacoma, WA 98403
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